                            IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF UTAH


UNITED STATES OF AMERICA,
                Plaintiff,
                                                                     CASE NO: 2:21CR140 JNP
        vs.

SEZGIN BARAN KORKMAZ,                                                   DETENTION ORDER
               Defendant.



                            ORDER OF DETENTION PENDING TRIAL
                                         Part I - Eligibility for Detention
     Upon the

        ☐ A. Motion of the Government attorney pursuant to 18 U.S.C. § 3142(f)(1), because defendant is
       charged with

                  ☐       (A) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in
                          18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10
                          years or more is prescribed; or
                  ☐       (B) an offense for which the maximum sentence is life imprisonment or death;
                  ☐       or
                          (C) an offense for which a maximum term of imprisonment of 10 years or
                          more is prescribed in the Controlled Substances Act (21 U.S.C. §§ 801-904),
                          the Controlled Substances Import and Export Act (21 U.S.C. §§ 951-971), or
                          Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or
                  ☐       (D) any felony if such person has been convicted of two or more offenses
                          described in subparagraphs (1) through (3) of this paragraph, or two or more
                  ☐       State or felony
                          (E) any  local offenses   thatotherwise
                                           that is not   would have     beenof
                                                                    a crime  offenses
                                                                               violencedescribed in
                                                                                         but involves:(a) a
                          subparagraphs
                          minor victim; (b) the possession of a firearm or destructive devicegiving
                                           (a) through   (c) of this paragraph  if a circumstance         rise to
                                                                                                    (as defined
                          Federal  jurisdiction  had  existed,  or a combination   of such offenses; or
                          in 18 U.S.C. § 921); (c) any other dangerous weapon; or (d) a failure to register
                          under 18 U.S.C. § 2250;


                 OR



       ☒ B. Motion of the Government or Court’s own motion pursuant to 18 U.S.C. § 3142(f)(2), because
                   ☒        (A) defendant poses a serious risk of flight if released, or
                            (B) defendant poses a serious risk of obstructing or attempting to obstruct
                   ☐
                            justice if released;
the Court held a detention hearing and found that detention is warranted. This order sets forth the Court’s findings
of fact and conclusions of law, as required by 18 U.S.C. § 3142(i), in addition to any other findings made at the
hearing.
                 Part II - Findings of Fact and Law as to Presumptions under § 3142(e)

☐ A. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a rebuttable
   presumption that no condition or combination of conditions will reasonably assure the safety of any other
   person and the community because the following conditions have been met:

       ☐ (1) the defendant is charged with one of the crimes described in 18 U.S.C. § 3142(f)(1) which are
         listed in Part I A. above.
       ☐ (2) the defendant has previously been convicted of a Federal offense that is described in 18 U.S.C.
         § 3142(f)(1), or of a State or local offense that would have been such an offense if a circumstance
         giving rise to Federal jurisdiction had existed; and

       ☐ (3) the offense described in paragraph (2) above for which the defendant has been convicted was
          committed while the defendant was on release pending trial for a Federal, State, or local offense; and

       ☐ (4) a period of not more than five years has elapsed since the date of conviction, or the release of the
          defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.

☐ B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other offenses): There is a
   rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance
   of the defendant as required and the safety of the community because there is probable cause to believe that
   the defendant committed one or more of the following offenses:

       ☐ (1) an offense for which a maximum term of imprisonment of 10 years or more is prescribed in the
          Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled Substances Import and Export Act
          (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508);

       ☐ (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;
       ☐ (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10
         years
         or more is prescribed;
       ☐ (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a maximum
         term of
         imprisonment   of 20 years or more is prescribed; or

       ☐ (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242, 2244(a)(1),
          2245,
          2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1), 2252A(a)(2), 2252A(a)(3),
          2252A(a)(4), 2260, 2421, 2422, 2423, or 2425.


☐ C. Conclusions Regarding Applicability of Any Presumption Established Above

       ☐ The defendant has not introduced sufficient evidence to rebut the presumption above.
          OR

       ☐ The defendant has presented evidence sufficient to rebut the presumption, but after considering the
          presumption and the other factors discussed below, detention is warranted.
                        Part III - Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in 18 U.S.C. § 3142(g) and the information presented at the detention
hearing, the Court concludes that the defendant must be detained pending trial because the Government has
proven:

  ☐ By clear and convincing evidence that no condition or combination of conditions of release will reasonably
     assure the safety of any other person and the community.

  ☒ By a preponderance of evidence that no condition or combination of conditions of release will reasonably
     assure the defendant’s appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:
    (1) Nature and circumstances of the offense(s) charged in the present case:
        ☒ Subject to lengthy period of incarceration if convicted
        ☐ Subject to removal or deportation after serving any period of incarceration
        ☒ The crime is one identified as carrying a presumption of detention (as identified in Part II A. or B)
        ☐ The defendant attempted to evade law enforcement at the time of arrest
        Other: Click or tap here to enter text.
    (2) Weight of evidence against the defendant is strong because defendant is shown to have participated in
        multi-million dollar transactions on behalf of those convicted of tax fraud, which tends to show that
        defendant may have access to substantial funds that would facilitate flight from the United States.

    (3) History and characteristics of defendant
        ☐ Prior criminal history
        ☐ Participation in criminal activity while on probation, parole, or supervision
        ☐ Prior violations of probation, parole, or supervised release
        ☐ History of violence or use of weapons
        ☐ History of alcohol or substance abuse
        ☒ Lack of stable employment
        ☒ Lack of stable residence
        ☒ Lack of financially responsible sureties
        ☒ Lack of significant community or family ties to this district
        ☒ Significant family or other ties outside the United States
        ☒ Lack of legal status in the United States
        ☐ Prior failure to appear in court as ordered
        ☒ Prior attempt(s) to evade law enforcement
        ☐ Use of alias(es) or false documents
        ☐ Background information unknown or unverified
        ☐ On probation, parole and/or release pending trial, sentence, appeal, or completion of sentence at the
        time of the alleged offense

    (4) Nature and seriousness of danger posed by person’s release:
        ☐ The defendant poses the following danger: Click or tap here to enter text.
        ☐ The risk of that danger is: Click or tap here to enter text.
OTHER REASONS OR FURTHER EXPLANATION:

Defendant has no ties to the United States. He appears to have access to large sums of money and fled from
Turkey to Austria. He was eventually extradited from Austria to the United States to defend against the charges in
this case. This shows that defendant has the means and the disposition to flee prosecution especially with having
no ties to the United States. Additionally, defendant waived his right to a detention hearing. Therefore, the United
States not only has shown that defendant is a serious risk of flight for purposes of obtaining a detention hearing,
but the United States has also shown that he is an unmanageable risk of nonappearance and, therefore, is detained
in the custody of the United States Attorney General pending resolution of this case.

Conditions which restrict Defendant’s travel, personal contacts, and possession of drugs, alcohol, and/or firearms;
require reporting, education, employment, or treatment; or monitor Defendant’s movements or conduct; or any
combination of these conditions or others currently proposed or available (see 18 U.S.C. § 3142(c)), will not
sufficiently ameliorate the risks posed if the defendant is released.




                                    Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney General’s designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. The defendant must be afforded a reasonable opportunity
for private consultation with defense counsel. On order of a court of the United States or on request of an attorney
for the Government, the person in charge of the corrections facility must deliver the defendant to a United States
Marshal for the purpose of an appearance in connection with a court proceeding.



Dated July 18, 2022

                                                  BY THE COURT:



                                                  ________________________________
                                                  JARED C. BENNETT
                                                  U.S. Magistrate Judge
